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                            File a Complaint                                                 Start a Review

             Need to file a complaint? BBB is here                             Write a review of a business and share
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                                           More Categories




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             The BBB Seal instantly identifies businesses committed to honesty and
                                             integrity.


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                       Empowering the community to fight fraud together

                                    Lookup and Report Scams




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                       "For us, it's really important to be part of the BBB
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                       customers.




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